Case 6:14-cv-06004-GAP-TBS Document 195 Filed 12/08/16 Page 1 of 1 PageID 2356




                             UNITED STATES DISTRICT COURT
                                 MIDDLE DISTRICT OF FLORIDA
                                         ORLANDO DIVISION

    PARKER AUTO BODY INC, et al.,

           Plaintiffs,

    v.                                                              Case No: 6:14-cv-6004-Orl-31TBS

    STATE FARM MUTUAL AUTOMOBILE
    INSURANCE COMPANY, et al.,

           Defendants.


                                                   ORDER
           On March 23, 2016 this Court dismissed Plaintiffs’ antitrust claims (Doc. 165), and denied

    Plaintiffs’ Motion for Reconsideration (Doc. 166) on May 12, 2016 (Doc. 184). On July 28,

    2016, the Court dismissed the remaining state law claims (Doc. 188). Plaintiffs’ appeal to the

    Eleventh Circuit was dismissed on October 5, 2016 (Doc. 194). There being no pending motions

    to consider, this case is concluded and the Clerk is directed to close the case.

           DONE and ORDERED in Chambers, Orlando, Florida on December 8, 2016.




    Copies furnished to:

    Counsel of Record
    Unrepresented Party
